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                 IN THE UNITED STATES COURT OF APPEALS
                         FOR THE FIFTH CIRCUIT


Rover Pipeline, L.L.C; Energy Transfer L.P.,

      Plaintiffs-Appellees,

                          v.

Federal Energy Regulatory Commission; Carmen
                                                                No. 23-11154
Cintron, Acting Chief Administrative Law Judge;
Allison Clements, Commissioner; James Danly,
Commissioner; Richard Glick, Chairman; Willie L.
Phillips, Commissioner; Mark C. Christie,
Commissioner,

      Defendants-Appellants.


              Motion to Voluntarily Dismiss the Appeal

      Pursuant to Federal Rule of Appellate Procedure 42(b)(2) and Fifth

Circuit Rule 42.1, defendants-appellants move to voluntarily dismiss this

appeal. Counsel for the plaintiffs-appellees does not oppose this motion.1




      1 A certificate of interested persons is not required, as defendants-

appellees are a federal agency and government officials sued in their official
capacity. Fifth Cir. R. 27.4, 28.2.1
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                                 Respectfully submitted,

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Dated: December 11, 2023




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                        CERTIFICATE OF SERVICE

     I certify that on December 11, 2023, I electronically filed the foregoing

with the Clerk of the Court by using the appellate CM/ECF system.

Participants in the case are registered CM/ECF users and service will be

accomplished by the appellate CM/ECF system.

                                              /s/ Daniel Aguilar
                                             Daniel Aguilar


                    CERTIFICATION OF COMPLIANCE

     Pursuant to Fed. R. App. P. 32(g), I certify this motion complies with

the requirements of Fed. R. App. P. 27(d)(1)(E) because it has been

prepared in 14-point Georgia, a proportionally spaced font, and that it

complies with the type-volume limitation of Fed. R. App. P. 27(d)(2)(A),

because it contains 56 words, according to the count of Microsoft Word.

                                              /s/ Daniel Aguilar
                                             Daniel Aguilar




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